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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :           CRIMINAL ACTION
                                        :
             v.                         :
                                        :           NO. 05-530-1
STANLEY SKEETERS                        :


                               MEMORANDUM

Bartle, J.                                         September    18, 2020

           The court has before it the motion of defendant

Stanley Skeeters, acting pro se, for compassionate release under

18 U.S.C. § 3582(c)(1)(A).

                                    I

           On March 27, 2006, a jury found defendant guilty of:

one count of conspiracy to interfere with interstate commerce by

robbery in violation of 18 U.S.C. § 1951(a); four counts of

interference with interstate commerce by robbery and aiding and

abetting in violation of 18 U.S.C. §§ 1951-1952; and four counts

of possession of a firearm in furtherance of a violent offense

and aiding and abetting in violation of 18 U.S.C. § 924(c).

           On August 23, 2006, this court sentenced defendant to

985 months imprisonment to be followed by 5 years of supervised

release.   Defendant’s term consists of a mandatory term of 7

years on the first § 924(c) charge and mandatory consecutive
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terms of 25 years on each of the other three § 924(c) charges.

Since defendant violated his parole for state crimes when he

committed the federal offenses, he remained in state custody to

complete his state sentence and did not begin his federal

sentence until June 2012.     Defendant is currently serving his

sentence at the United States Penitentiary in Lewisburg,

Pennsylvania (“USP Lewisburg”) with an anticipated release date

from federal custody of May 23, 2082.

                                   II

         Defendant’s motion for compassionate release relies on

§ 3582(c)(1)(A) as recently amended by the First Step Act.            It

provides, in relevant part:

         The court may not modify a term of imprisonment once
         it has been imposed except that—
         (1)    in any case—
               (A)   the court, upon motion of the
               Director of the Bureau of Prisons, or
               upon motion of the defendant after the
               defendant has fully exhausted all
               administrative rights to appeal a
               failure of the Bureau of Prisons to
               bring a motion on the defendant’s behalf
               or the lapse of 30 days from the receipt
               of such a request by the warden of the
               defendant’s facility, whichever is
               earlier, may reduce the term of
               imprisonment (and may impose a term of
               probation or supervised release with or
               without conditions that does not exceed
               the unserved portion of the original
               term of imprisonment), after considering
               the factors set forth in section 3553(a)
               to the extent that they are applicable,
               if it finds that—



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                      (i) extraordinary and compelling
                      reasons warrant such a reduction
                      . . .

                and that such reduction is consistent
                with applicable policy statements issued
                by the Sentencing Commission.


            Defendant has exhausted his administrative remedies.

We turn first to the elements that a defendant must meet under

§ 3582(c)(1)(A)(i) to obtain a reduction in sentence.          It

provides that a court may order compassionate release for

“extraordinary and compelling reasons” but only if the reduction

in sentence is “consistent with applicable policy statements of

the Sentencing Commission.”

            Congress has also enacted 28 U.S.C. § 994(t) which

provides:

            The Commission, in promulgating general
            policy statements regarding the sentencing
            modification provisions in section
            3582(c)(1)(A) of title 18, shall describe
            what should be considered extraordinary and
            compelling reasons for sentence reduction,
            including the criteria to be applied and a
            list of specific examples. Rehabilitation of
            the defendant alone shall not be considered
            an extraordinary and compelling reason.

The application note 1(A) of section 1B1.13 of the Sentencing

Guidelines explains that “extraordinary and compelling reasons”

exist where the defendant is:     (1) “suffering from a terminal

illness” including among others “advanced dementia”;



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(2) “suffering from a serious physical or medical condition”;

(3) “suffering from a serious functional or cognitive

impairment”; or (4) “experiencing deteriorating physical or

mental health because of the aging process.”        The latter three

grounds also require that the impairment “substantially

diminishes the ability of the defendant to provide self-care

within the environment of a correctional facility and from which

he or she is not expected to recover.”

                                  III

         Defendant asserts that compassionate release should be

granted because of:   (1) the draconian practice of § 924(c)

“stacking” of sentences which was modified by § 403 of the First

Step Act; (2) the COVID-19 pandemic and his risk of infection

due to positive tests at USP Lewisburg and inadequate testing

procedures; (3) his exceptional rehabilitation and lack of a

single disciplinary incident in the last seven years; (4) the

enactment of § 403 of the First Step Act; and (5) his valid home

plan, job opportunity, and support from family.

         The Government opposes defendant’s motion.          It

maintains that defendant has not stated appropriate reasons for

compassionate release.    The Government argues that § 403 of the

First Step Act, which modified § 924(c) as to when a 25-year

sentence is to be imposed, does not apply to defendant because

Congress explicitly stated that § 403 applies only to offenses

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committed before the date of enactment when the sentence had not

yet been imposed.     See First Step Act of 2018, § 403, Pub. L.

No. 115-391, 132 Stat. 5194; see also United States v. Hodge,

948 F.3d 160, 163 (3d Cir. 2020).      Since Congress enacted § 403

on December 21, 2018, and this court sentenced defendant in

2006, the Government is correct that § 403 does not apply here.

          The Government asserts that the pandemic alone does

not constitute sufficient grounds for compassionate release, and

defendant’s most recent physical from October 10, 2019 indicates

that he has no medical complaints.      In addition, defendant does

not have any underlying health conditions that are listed as a

risk factor for more serious cases of COVID-19.        He is

prediabetic, but prediabetes, as opposed to diabetes, is not

listed as a risk factor for serious cases of COVID-19.          See

United States v. Hooks, No. 13-527, 2020 WL 4756341, at *6 (E.D.

Pa. Aug. 17, 2020).    The Government also argues that USP

Lewisburg currently has no reported positive cases for inmates

and that the 85 inmates who previously tested positive were

isolated and have recovered.

          The court is, of course, mindful of the devastating

worldwide pandemic and the special dangers the highly contagious

coronavirus poses for the defendant and all others in prison.

However, “the mere existence of COVID- 19 in society and the

possibility that it may spread to a particular prison alone


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cannot independently justify compassionate release.”         United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).         The Bureau of

Prisons, including USP Lewisburg, has in place protocols to deal

with this disease, and the Attorney General has issued two

directives to the Bureau of Prisons concerning early release of

inmates, which it is following.

         Based on the current record, defendant has not

established that he has any health condition that constitutes a

serious medical impairment as defined in the Sentencing

Guidelines.   The serious medical condition under the Sentencing

Guidelines must be an impairment which “substantially diminishes

the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she

is not expected to recover.”     Defendant clearly does not meet

this requirement.

         Even if defendant has the requisite serious medical

condition, the court’s analysis does not end there.         Section

3582(c)(1)(A) requires the court to consider the “factors set

forth in § 3553(a) to the extent they are applicable” before the

court may reduce his sentence.     These factors include the need

to: “reflect the nature and circumstances of the offense and the

history and characteristics of the defendant;” “reflect the

seriousness of the offense;” “promote respect of the law;” and

“afford adequate deterrence to criminal conduct.”


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          In this regard, defendant claims that he should be

granted compassionate release because he “has taken the

opportunity to put his life in order” during his incarceration,

including achieving his general education degree (GED),

completing various coursework, and going without a disciplinary

incident for over five years.

          The court accepts defendant’s representation that

while incarcerated he has made efforts to “put his life in

order.”   While the court applauds defendant for any strides he

has made toward rehabilitation, these factors alone do not allow

for his release.   Under 28 U.S.C. § 994(t), Congress has made it

clear: “[r]ehabilitation of the defendant alone shall not be

considered an extraordinary and compelling reason” for

compassionate release.    In any event, his rehabilitation does

not outweigh other § 3553(a) factors which support the need for

him to serve the sentence imposed.

          This court cannot ignore the seriousness of

defendant’s criminal history.     Defendant had been found guilty

of crimes involving armed robberies under state law.         His

subsequent robberies involved in this action occurred shortly

after his release from state custody and thus violated his state

parole.   His crimes were serious and merit serious sentences.

Releasing defendant now, only eight years into his federal

sentence, would not appropriately reflect the nature and


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circumstances of his offenses, the need to protect the public

from further crimes of the defendant, and the need to afford

adequate deterrence to criminal conduct.

         The court finds that defendant has not established

extraordinary and compelling reasons that warrant his

entitlement to compassionate release.       Accordingly, the court

will deny his petition under 18 U.S.C. § 3582(c)(1)(A).




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